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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Norfolk Division

                                               )
SYMBOLOGY INNOVATIONS, LLC,                    )
                                               )
                      Plaintiff,               )
v.                                             )
                                                         Civil Action No. 2:17-cv-00086
                                               )
LEGO SYSTEMS, INC.,                            )
                                               )
                      Defendant.               )
                                               )
                                               )


                          DEFENDANT LEGO SYSTEMS, INC.’S
                               MOTION TO TRANSFER

       Defendant LEGO Systems, Inc. (“LSI”) moves to transfer venue of this action under 28

U.S.C. § 1404(a) to the District of Connecticut. For the reasons discussed in the accompanying

memorandum of law, LSI respectfully requests the Court grant this motion.

                                                   LEGO SYSTEMS, INC.


                                                   By            /s/
                                                           Of Counsel

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                               CERTIFICATE OF SERVICE

       I hereby certify that on this 3rd day of April , 2017, I electronically filed the foregoing

with the Clerk of Court using the CM/ECF system, which will send a notification of such filing

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